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                                                                                   22-MC-00033
                             Application for Multi-Court Exemption from the
                         Judicial Conference's Electronic Public Access (EPA) Fees
1.) I am requesting an exemption from fees for public access to electronic case records for the courts
selected below:
 Courts of Appeal                              Bankruptcy Appellate Panels (BAP)
        All Courts of Appeal      Seventh Circuit       First Circuit - BAP
                                                                                              FILED
        First Circuit             Eighth Circuit        Sixth Circuit - BAP                      Clerk
        Second Circuit            Ninth Circuit         Eighth Circuit - BAP                 District Court
        Third Circuit             Tenth Circuit         Ninth Circuit - BAP                JUN 06 2022
        Fourth Circuit            Eleventh Circuit      Tenth Circuit - BAP        for the Northern Mariana Islands
        Fifth Circuit             D.C. Circuit                                     By________________________
                                                                                             (Deputy Clerk)
        Sixth Circuit             Federal Circuit

  District Courts
        All District Courts
        Alabama Middle            Illinois Northern     Nebraska                   Rhode Island
        Alabama Northern          Illinois Central      Nevada                     South Carolina
        Alabama Southern          Illinois Southern     New Hampshire              South Dakota
        Alaska                    Indiana Northern      New Jersey                 Tennessee Eastern
        Arizona                   Indiana Southern      New Mexico                 Tennessee Middle
        Arkansas Eastern          Iowa Northern         New York Eastern           Tennessee Western
        Arkansas Western          Iowa Southern         New York Northern          Texas Eastern
        California Central        Kansas                New York Southern          Texas Northern
        California Eastern        Kentucky Eastern      New York Western           Texas Southern
        California Northern       Kentucky Western      North Carolina Eastern     Texas Western
        California Southern       Louisiana Eastern     North Carolina Middle      Utah
        Colorado                  Louisiana Middle      North Carolina Western     Vermont
        Connecticut               Louisiana Western     North Dakota               Virgin Islands
        Delaware                  Maine                 Northern Mariana Islands   Virginia Eastern
        District of Columbia      Maryland              Ohio Northern              Virginia Western
        Florida Middle            Massachusetts         Ohio Southern              Washington Eastern
        Florida Northern         Michigan Eastern       Oklahoma Eastern           Washington Western
        Florida Southern         Michigan Western       Oklahoma Northern          West Virginia Northern
        Georgia Northern         Minnesota              Oklahoma Western           West Virginia Southern
        Georgia Middle           Mississippi Northern   Oregon                     Wisconsin Eastern
        Georgia Southern         Mississippi Southern   Pennsylvania Eastern       Wisconsin Western
        Guam                     Missouri Eastern       Pennsylvania Middle        Wyoming
        Hawaii                   Missouri Western       Pennsylvania Western
        Idaho                    Montana                Puerto Rico
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   Bankruptcy Courts
          All Bankruptcy Courts
         Alabama Middle               Illinois Northern             Nebraska                         Rhode Island
         Alabama Northern             Illinois Central              Nevada                           South Carolina
         Alabama Southern             Illinois Southern             New Hampshire                    South Dakota
         Alaska                       Indiana Northern              New Jersey                       Tennessee Eastern
          Arizona                     Indiana Southern              New Mexico                       Tennessee Middle
          Arkansas Eastern            Iowa Northern                 New York Eastern                 Tennessee Western
          Arkansas Western            Iowa Southern                 New York Northern                Texas Eastern
          California Central          Kansas                        New York Southern                Texas Northern
          California Eastern          Kentucky Eastern              New York Western                 Texas Southern
          California Northern         Kentucky Western              North Carolina Eastern           Texas Western
          California Southern         Louisiana Eastern             North Carolina Middle            Utah
         Colorado                     Louisiana Middle              North Carolina Western           Vermont
         Connecticut                  Louisiana Western             North Dakota                     Virgin Islands
         Delaware                     Maine                         Northern Mariana Islands         Virginia Eastern
         District of Columbia         Maryland                      Ohio Northern                    Virginia Western
         Florida Middle               Massachusetts                 Ohio Southern                    Washington Eastern
         Florida Northern             Michigan Eastern             Oklahoma Eastern                  Washington Western
         Florida Southern             Michigan Western             Oklahoma Northern                 West Virginia Northern
         Georgia Northern             Minnesota                    Oklahoma Western                  West Virginia Southern
         Georgia Middle               Mississippi Northern         Oregon                            Wisconsin Eastern
         Georgia Southern             Mississippi Southern         Pennsylvania Eastern              Wisconsin Western
         Guam                         Missouri Eastern             Pennsylvania Middle               Wyoming
         Hawaii                       Missouri Western             Pennsylvania Western
         Idaho                        Montana                      Puerto Rico

National Courts
        Judicial Panel on               U.S. Court of            U.S. Court of
        Multidistrict Litigation        Federal Claims           International Trade


2.) I am an individual associated with             University of Illinois at Urbana-Champaign

3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.

I am a Finance doctoral student at University of Illinois at Urbana-Champaign and currently doing research about the household
bankruptcy. The research is basically looking at the impact of local community social shock to the resident's bankruptcy decision/
pattern. In academia, little has been done in this area and local community social capital might have spillover to local economy/
bankruptcy pattern. Therefore, the detailed information about filers are critical information for the research. The geo-location/
detailed characteristics of each case filers will be needed from the PACER and the public access to PACER cannot be stressed
enough. This research will be helpful for the bankruptcy policy maker to think about the spillover channel through which
bankruptcy can impact local community social trust or capital. Moreover, identifying the impact of local social capital on
households' bankruptcy can be helpful for courts/judges/policy maker. Therefore, this research can extend the academia research on
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4.) In support of this application, I affirm the following:
     a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
     unreasonable burdens and to promote public access to information.
     b) That the exemption will be for a definitive period of time:   08/31/2023

     c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
     stated above, and will apply only to the electronic case files of the court(s) indicated above that are
     available through the PACER service.
     d) I agree that any data received through this exemption will not be sold for profit, will not be
     transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

      Declaration: I declare that all the above information is true and understand that a false statement
 ✖    may result in termination of my exempt access and an assessment of Electronic Public Access
      usage fees. (The box must be marked or your request will not be considered)



Jaejin Lee
                                                          Applicant's Phone Number
Applicant's Printed Name
                                                          Applicant's email address

Applicant's Title
                                                          Applicant's Mailing Address
                   Jaejin Lee                             Champaign                      IL      61820
                                                          City                           State   Zip Code
Applicant's Signature
                                                                                         11/27/2021

                                                                                         Date



Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts.gov
or by mail to:
Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD
One Columbus Circle, N.E.
Washington, DC 20544

            ** Requests sent through the US mail may take up to two weeks to clear security.**
